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Paula A. Fleck WY State Bar # 6-2660
HOLLAND & HART LLP
25 South Willow Street, Suite 200
P. O. Box 68
Jackson, WY 83001-0068
Telephone: (307) 739-9741
Facsimile: (307) 739-9744
pfleck@hollandhart.com

Attorneys for Defendants

                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF WYOMING

FRANK SACCA,                                     )
                                                 )
        Plaintiff,                               )
                                                 )
                vs.                              )
                                                 )
WYOMING WHISKEY, INC., BRADFORD                  )   Case No. 2:18-CV-00025-ABJ
MEAD, KATHERINE MEAD, and DAVID                  )
DEFAZIO,                                         )
                                                 )
        Defendants.                              )

                       DEFENDANTS’ DISCLOSURE STATEMENT

        Pursuant to Fed. R. Civ. P. 7.1, Defendants notify the Court that Wyoming Whiskey, Inc.

has no parent corporation and is a privately owned company.

        Dated this 21st day of February, 2018.

                                             HOLLAND & HART LLP



                                             By____________/s/____________________
                                             Paula A. Fleck WY State Bar # 6-2660
                                             HOLLAND & HART LLP
                                             25 South Willow Street, Suite 200
                                             P. O. Box 68
                                             Jackson, WY 83001-0068
                                             Telephone: (307) 739-9741
                                             Facsimile: (307) 739-9744
                                             pfleck@hollandhart.com

                                             Attorneys for Defendants.




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